Case: 1:25-cv-00371-CAB Doc #: 4 Filed: 03/28/25 10
Case: 1:25-cv-00371-CAB Doc #: 2 Filed: 02/25/25 10

=
Bp
v
>

eo
oD
oO
+
RO
IS

AO 440 (Rov, 06/12) Summons ina Civil Action

UNITED STATES DISTRICT COURT

for the
Northern District of Ohio

KIMBERLY A. FUSCO, Executrix of the Estate of
RICHARD J, LIVOLSI, JR., Deceased

Plaintiff(s)
Vv

‘ Civil Action No, 1:25-cv-371
UNITED STATES OF AMERICA

)
)
)
)
)
)
)
)
)
)
)
)

Defendant(s)
- SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) United States of America
c/o Pamela J. Bond
Attorney General of the United States
950 Pennsylvania Avenue NW.-
Washington, D.C. 20530

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed, R, Civ,
P, 12 (a)(2) or (3) — you must sorve on the plaintiffan answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are; ~Neal E, Shapero (OH 009426)

Andrew J. Thompson (OF 0071530)
Shapero Roloff Go., LPA

1111 Superior Ave, East, Suite 1310
Cleveland, Ohio 44114

If you fail to respond, judgment by default will be entered against you for the rolief demanded in the complaint,
You also must file your answer or motion with the court,

SANDY OPACICH, CLERK OF COURT’

Date: February 25, 2025 /s/ C. Hayden

: Sienaiure of Clerk ar Depuly Clerk

Case: 1:25-cv-00371-CAB Doc #: 4 Filed: 03/28/25 2 of 2. PagelD #: 32
Case: 1:25-cv-00371-CAB Doc #: 2 Filed: 02/25/25 2 of 4. PagelD #: 25

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)
Civil Action No. 1:25-cv-371

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any)

was received by me on (date)

(J I personally served the summons on the individual at (place)

On (date) 5 or

C1 I left the summons at the individual’s residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or
‘® I served the summons on (name of individual) Pamela J. Bondi, Attorney General , who is

designated by law to accept service of process on behalf of (name of organization) United States of America

on (date) March 7, 2025 7 OF
0 [returned the summons unexecuted because sor
J Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

pate: _ 3/26/28 Cadewns  Drarayva

Server's signature

Andrew J. Thompson, Attorney for Plaintiff
Printed name and title

1111 Superior Ave. East, Suite 1310, Cleveland, OH 44114

Server's address

Additional information regarding attempted service, etc:
